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A0 9l (l{ev.   llll I )   Crirninal Clornplainr

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                                                                       tbr the
                                                             District of New Mexico

                      Unitcd Statcs of America
                                 v.
                       Myles Delando Luciano
                           Joshua Lopez
                                                                                  caseNozfullb55

                                  Defendot(s)


                                                          CRIMINAL COMPLAINT
          I. the complainant in this case. state that the following is true to the best of my knowledge and beliet'.
On or about the date(s)              of     *,_____ -J_t!y_?"r2_ffi -, _         in the county   of   ,*.          Dona Ana               in the

                   __         District    of        New   Mexico     . the det'endant(s) violated:

          Code Seclictn                                                             Offense Description
18 U.S.C. S 1951                                      lnlerference with commerce by threats or violence




          This criminal complaint is based on these facts:

See attached'Affidavit"




         d      Continued on the attached sheet.




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Date:

City and state:
               August 1e! 2??2*


                                           Las Cruces, New Mexico
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                          IN THE TINITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

                 AFtr'IDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

        1. This affidavit is made in support of a criminal complaint charging              Myles Delando

Luciano and Joshua Lopez, with violations of 18 U.S.C. $ 1951, Interference with commerce by

threats or violence.

        2. I am a Federal   Bureau of Investigation (FBI) Special Agent currently assigned to the

FBI Albuquerque Division, Las Cruces Resident Agency. I have been an FBI Special Agent since

August 20 16. Since May 2017     ,I   have been assigned to the FBI Southern New Mexico Safe Streets

Gang Task Force (SSGTF) where          I currently serye   as Task Force   Coordinator. In that capacity, I

oversee the day-to-day operations          of the   SSGTF and conduct investigations          of   criminal

organizations, violent repeat offenders, and other federal drug and firearm related crimes. As an

FBI Special Agent, I am authorizedto investigate crimes involving violations of the Hobbs Act.

       3. I am familiar with the facts and     circumstances of the investigation into Myles Delando

Luciano and Joshua Lopez. The information set forth in this affidavit has been derived from my

own investigation or communicated to me by other sworn law enforcement officers or reliable

sources. Since this affidavit is being submitted for the limited purpose of securing arrest warrants,

I have not included each and every fact known to me conceming this investigation. I have set forth

only the facts that I believe are necessary to establish probable cause to believe that the defendants

have committed violations   of   18 U.S.C. $ 1951   .



       4.   On or about July 27,2022, Luciano and Lopez entered the Lowe's Home Improvement

store located at 3200   N Main St, Las Cruces, NM and attempted to depart the store with an air

conditioning unit without paying for the item. Two store employees and an off-duty U.S. Border
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Patrol (USBP) agent attempted to stop Luciano and Lopez and confront them about the unpaid

merchandise. Luciano produced what appeared to be a handgun and pointed it in the direction of

the store employees. The employees and the USBP agent believed the handgun was a real firearm

and were in fear for their    lives. It was later   discovered that the handgun was an air pellet gun

which resembled a Sig Sauer P320 handgun. Luciano and Lopez exited the store and fled in a

vehicle.

           5.   Las Cruces Police Department (LCPD) officers were notified shortly thereafter and

responded to the incident. LCPD officers located the vehicle in Las Cruces,     NM and atternpted to

stop the vehicle. The vehicle, driven by Lopez and occupied by Luciano, led LCPD officers on a

high-speed pursuit which ended near the parking lot located at 775 S Telshor Blvd, Las Cruces,

NM. LCPD officers fired at least one round      in the direction of Luciano and Lopezand eventually

both Luciano and Lopez were taken into custody. The air pellet gun described by witnesses at

Lowe's Home Improvement store was recovered from the vehicle driven by Lopez and occupied

by Luciano.

       6. I am aware the majority of the products sold in the Lowe's Home Improvement           store

were manufactured and shipped from locations outside the state      ofNew Mexico. Specifically, the

Lowe's Home Improvement store is resupplied by warehouses across the United States. The air

conditioning unit, worth approximately $700, was taken during the robbery. Revenue made by

the store is transferred to the Lowe's Home Improvement corporate headquarters located in North

Carolina. The loss of product affected the store's ability the create revenue needed to re-supply

its inventory, therefore affecting interstate commerce.
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       7. Based   on the foregoing, there is probable cause to believe that Myles Delando Luciano

and Joshua Lopez   violated 18 U.S.C. $ l95l . Intertbrence with commerce by threats or violence.

       8.   Assistant United States Attorney Maria Armijo approved the charges filed in this

criminal complaint.




DArED:      D<,'1< /z (
                                              Ryan
                                              Special Agent
                                              Federal Bureau of Investigation


Electronically signed and telephonically
swom this   _fiugust      19,2022


                   MAGISTRATE JUDGE
